
Pee Cubiam.
All the questions presented on this appeal have been passed upon by the general term of this court adversely to the defendants, except the objection to the question put to one of the experts called by the plaintiffs, whereby the witness was requested to “ give the rental value for the following years with and without the road.”
To that question the defendants objected as “ incompetent, irrelevant and immaterial, and not within the issues of this action and not a proper method of proof.”
The objection was to the whole question, and so' far as the question required the opinion of the witness as to the value of the property at the time, the evidence was clearly competent. The attention of' the court was not called to the objection now urged, that the portion of the question that required the witness to give his opinion as to the rental value of the premises without the elevated railroad was incompetent, and no motion was made to strike out any portion of the answer after it was given. Considerable testimony was subsequently given on the same subject by both plaintiffs and defendants without objection.
Under these circumstances we think the objection *438in the form it was taken was unavailing. An examination of the whole case has satisfied us that the findings are sustained by the evidence, and the result would have been the same if the evidence now objected to had not been received.
We think, therefore, that no error was committed that requires a reversal of the judgment, and that the judgment should be affirmed with costs.
